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               EXHIBIT 2
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A l i s o n K. T i g h e




From:                        Medaris, Chad <Chad.Medaris@opm.gov>
Sent:                        Thursday, June 09, 2011 10:04 AM
To:                           (david.ignatius.cs@bcbsa.com); (phyllis.watson@geha.com); Baldomino, Margaret; Medaris, Chad; 'Coll_Legal@nalchbp.org'; David
                             Bruce (dgbruce@cvty.com); Doyle, Larry; Shohan, Garrett; Jacci Morton (jacqueline.morton@bcbsa.com); Judy Andrew
                             (jandrew@sambaplans.com); Lauren Russo (Lauren_russo@medco.com); Robinson, Shantel; Sandy Webb (SWebb@SambaPlans.com);
                             Stephanie McClellan (smcclellan@apwuhp.com); Todd Schoenian (tschoenian@sambaplans.com)
Cc:                          'Cindy Roegner (cindy.roegner@tma.osd.mil)'
Subject:                     Pediatrix Report
Attachments:                 Pediatrix Report from Indago.pdf


Here is a report on Pediatrix sent to us by an AUSA. I asked her if I could share it with all of you and she said that it would be OK,
but please do not share this report outside of our group. I thought some the information in the report may help when looking at
the company.

SA Chad Medaris
OPM-OIG
One Justice Way -C3
Dallas, TX 75220
Office # 972-559-5114
Mobile # 214-243-3758




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                               INVESTIGATIVE MEMORANDUM
                                    CONFIDENTIAL

Date:    May 19, 2011

To:      Roann Nichols
         Assistant U.S. Attorney
         District of Maryland
         36 S. Charles Street, 4th Floor
         Baltimore, Maryland 21201

From: Diane Schulman

Re:     MEDNAX, Inc.1 (MD)
        1301 Concord Terrace
        Sunrise, FL 33323

Overview

MEDNAX, Inc. is a national provider of physician services to hospitals in 32 states and Puerto Rico.
The company acquires hospital-based specialty physician groups and then contracts those services
back to the hospital. Our initial research has focused on the company’s neonatology unit known as
Pediatrix2 Medical Group.

Pediatrix is the company’s largest division and operates more than 300 neonatal intensive care units
(NICUs) and employs over 20% of the board-certified neonatologists in the country. In addition,
Pediatrix employs pediatric cardiologists, pediatric interventionists and obstetrician-gynecologists,
through the Obstetrix unit. Mednax also operates a smaller anesthesiology division accounting for
less than 1% of anesthesiologists nationwide and approximately 10% of company revenue.

In order to understand the operating practices of Pediatrix, we interviewed former employees of the
company including neonatologists, neonatal nurse practitioners (NNPs), newborn hearing screeners,
financial analysts and others. In addition, we interviewed former and potential whistleblowers as well
as attorneys representing various plaintiffs in malpractice litigation against Pediatrix.

The following is a summary of our findings.

Pediatrix NICU Business Model

•     “They’ll give you a million dollars but you have to sell your soul.”

The Pediatrix business model is to acquire hospital-based neonatal physician groups and then
contract with the hospitals to provide physician and nurse-practitioner services as well as, in most

1 Known as Pediatrix Medical Group, Inc. (PDX) until January 1, 2009. Pediatrix Medical Group Inc. was
founded in 1979.
2 The name, Pediatrix, will be used when discussing Mednax’s neonatology business.




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cases, run the NICU. The hospital pays Pediatrix a management fee and Pediatrix releases the
hospital from potential liability associated with the NICU. All billing and collections are handled by
Pediatrix at the corporate level.

Pediatrix lured physicians’ groups with deals loaded with upfront bonuses for signing, former
Pediatrix neonatologists say. The offers were particularly appealing to older physicians who were
among the first wave of neonatologists when the specialty began in the 1960s and were ready to cash
out. Once the senior physicians in the group were on board, the deal was done.

Under the Pediatrix model, revenue from the NICU is split between corporate and the physicians’
group but according to former Pediatrix neonatologists the actual split and some of the terms would
vary from contract to contract. In Orange County, California, the split was 80% to Pediatrix and 20%
to the group. In Denver, Colorado, the split was 50% to Pediatrix and 50% to the group once a
minimum billing level was met. The group’s portion typically included any staffing beyond that which
Pediatrix deemed necessary and any additional bonuses to the group’s staff. The model created a
strong incentive to increase billing and cut costs, former employees say, and potentially compromise
care.

Interviews with former Pediatrix neonatologists from multiple states revealed widespread contempt
for the company and some of its practices as well as a fear of retaliation for speaking up. All of the
physicians interviewed recounted horror stories in which former Pediatrix neonatologists were sued
for violating the company’s restrictive non-compete clause3 or were forced to stop practicing
neonatology after leaving Pediatrix.

One neonatologist at Central California Children’s Hospital, who refused to go along with the deal
when her practice was approached by Pediatrix around 2001, said a number of the older physicians in
her group were enthusiastic about a sale. She said: “Here they come, the Pediatrix reps, like used car
salesmen, they tell us how they’re going to make our lives so much better, fly in extra people to help
with the workload.”

She recalled that Pediatrix had offered to buy the central California practice (a group of five doctors)
for $15 million and pay her 25% of what she was making in salary but give her a $3 million bonus.
Pediatrix has been successful in locking up all the physicians in a given practice with signing bonuses
and non-compete contracts but, in this case, she and two other physicians in the group refused to go
along but were still allowed to practice at the hospital.

Of the remaining physicians who took the money, one became the medical director and convinced
the hospital to give them a contract. Pediatrix came in with a big presentation, “multimedia, the
works,” and the hospital signed on. The dissenters suspected kickbacks to the hospital, “We believe
money exchanged hands,” she said, “but we can’t prove that.”

In a rare head-to-head contest that lasted just under two years, Pediatrix tried to compete with the
remaining independent neonatologists at the Central California hospital. It quickly became apparent
to the hospital community that the Pediatrix replacement physicians were “less qualified” and as a
result the company was “not getting the referrals” they were expecting. As one of the independent
neonatologists explained, “No one would refer to them – they didn’t know the community – we
would have 50 beds full, they had one or two beds.“



3 See “The Corporate Transformation of Medical Specialty Care: The Exemplary Case of Neonatology,”

Eleanor D. Kinney, J.D., M.P.H Journal of Law, Medicine and Ethics.


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In the end, Pediatrix was unable to make it. “They were here for less than two years, then cancelled
the contracts,” the California neonatologist said.

In Colorado, a neonatologist said the offer from Pediatrix was for a million dollars upfront plus a
much lower salary than she had been making but with the potential for bonuses. She accepted the
offer but as she got to know the company, she came to regret the decision, “When Pediatrix comes
in, they’ll give you a million dollars but you have to sell your soul.”

The former neonatologist said that after several years of being “beaten down” by Pediatrix, she
finally decided to leave but had only two options: 1) if she wanted to stay in neonatology she would
have to leave the state because the Pediatrix non-compete was so restrictive that there was literally
nowhere she could practice or 2) she could stay in her home town but leave the specialty she was
trained in and become a primary care physician and not violate the non-compete.

Even though courts in the west have not upheld non-compete clauses, she said getting a lawyer to
fight against Pediatrix was a losing proposition. She wound up relocating to New Mexico but before
she left, demanded an exit interview with the medical director. When she complained about the
practices and the structure, she said, “I was told, ‘Be very careful.’ Because if I started making waves,
all the lead physician would have to do is make a call and my career would be over. I said to her, go
ahead and do that and I will get a lawyer. But I knew that it was impossible to go up against
Pediatrix-with-an-x and their lawyers.”

•   Medical Director

Former neonatologists say that one of the fundamental problems with the business model is that the
physician in charge of the NICU, the medical director, is a hand-picked extension of corporate
headquarters and has the power to make all decisions including staffing, bonuses, scheduling as well
as care and treatment decisions. None of the other physicians or staff have any say, one
neonatologist said. Corporate office gives the orders and the medical director carries them out. Prior
to the Pediatrix acquisition, the physicians would have been considered peers. Under the Pediatrix
model, the medical director is calling all the shots.

Medical directors are paid double or more what staff physicians are paid but for far less work,
doctors say. For instance, in his unit, one neonatologist in California was earning $140K to $150K
per year while the medical director was making $300K before bonuses.

One former California neonatologist said, "Employees are kept in the dark about others' incomes."
He learned that each practice acquired by Pediatrix had different pay structures, pay scales, and
staffing rules determined by the medical director. For instance, he said, an Orange county, California
group was expected to work 10 shifts per month, and paid for any extra time worked, while in his
group, you never got paid extra for extra shifts.

"What Pediatrix will do is that they give annual bonuses,” said one former Texas NNP, “If a practice
makes a lot of money, physicians get a lot of money, many hundreds of thousands of dollars. The
medical director gets the lion’s share then doles it out."

Such bonuses amount to “hush money,” she said, "The group in Dallas, those neonatal nurse-
practitioners got $25,000-$30,000 bonuses – that buys your complicity in that stuff, you’re a little
more willing to say, so what if we charge $250 for a hearing screen, so what if we go to a birth we
don’t need to be at -- we’re going to get a big fat bonus at the end of the year."




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The more revenue/billing generated, the higher the group portion. The less the group spends on
additional staff out of its portion, the more profit for the doctors.

It is interesting to note that one former neonatologist revealed that all of the medical directors have
their own internal email system, called the "medical directors forum" (monitored carefully by
corporate) and no one else has access. This was the place for medical directors to discuss all of their
internal issues.

Quality of Care

•   NICU Staffing concerns

Interviews with former employees from different parts of the country reveal concerns that staffing
ratios in Pediatrix’ NICUs are inadequate to ensure patient safety and are often double the ratios in
similar but non-profit NICUs.

Typical staffing, according to a former NNP based in Texas, included one neonatologist (who
worked regular daytime hours and was available by pager at other times) and one NNP (on site)
responsible for the coverage of all the babies. In addition, the hospital would schedule registered
nurses (RNs) for the unit.

For instance, the Texas NNP said, “At North Austin, there were 12-15 babies in level III NICU4; 6-8
in the level II, plus the newborn service. We might have up to 18-20 on well newborn or Level I.” In
addition, they might be covering another hospital, Round Rock, 10-12 miles away, they had a 4-bed,
level II unit, and up to 10-12 well newborns.

It was routine, she said, for one NNP to be responsible for more than 8-12 babies, “if the situation
was getting dangerous, we would call for extra coverage. There was usually back up.”

However, a former Pediatrix NNP in Ohio said that there was “supposed to be back up but that did
not always happen.” In addition, she said, when anyone called in sick, “you were on your own.”

On a typical day, she said, “We were always pretty much one NNP to at least 25 to 30 babies.” And,
she said, when the daytime staff left, the “24 hour person” had “all the babies – up to 60.”

By contrast, the NNP said, most neonatal units – not associated with Pediatrix – will staff one NNP
to manage 6 – 8 babies. This NNP said she complained about staffing levels but was told her
concerns were “ridiculous.”

In addition to concerns over NNP staffing, former Pediatrix neonatologists report “hectic” schedules
that required doctors to float to different hospitals every day. Patients would have so many different
physicians, one said, that it made follow through on treatment plans difficult. Parents of critically ill
newborns were often confused by never seeing the same doctor and some complained. It was a
staffing model, he said, that allowed patients to fall through the cracks.




4There are four levels of neonatal care: Level I, Basic for healthy newborns; Level II, Specialty Care for infants
who are moderately ill or recovering from serious illness; Level III, Subspecialty NICUs for newborns with
extreme prematurity or who are critically ill or require surgical intervention; and Level IV - Regional
Subspecialty NICUs - found only in a limited number of states most often in academic centers for the most
complex level of neonatal care.


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A former Pediatrix neonatologist from said, "The schedule was erratic; I was at a different place
every day, covering well babies in addition to sick babies in the NICU. There were different rules for
different locations. There was no continuity of care -- in staffing, care, billing.” And, he said, there
was no consideration of physician’s professional judgment or experience.

His conclusion: “They (Pediatrix) did anything to save a buck and we were made to feel like glorified
babysitters."

Moreover, he said: "You want to be able to make a plan and follow it through, when it's someone
else’s plan, you can’t be responsible for following through. From the parents' perspective, there
are three different physicians saying different things -- some parents did complain. I can see how
patients might have fallen through the cracks."

•   “Substandard” physicians

Former neonatologists and NNPs noted that Pediatrix makes it difficult for experienced physicians,
particularly physicians who are critical of the company, to stay. As experienced neonatologists leave,
the company replaces them with physicians who are cheaper and less qualified.

For instance, former neonatologists say Pediatrix targets immigrant physicians who are “desperate”
to come to the United States as replacement physicians. The company pays for all immigration costs
and in return staffs NICUs with doctors who are less likely to be outspoken.

One neonatologist said she is aware that Pediatrix is now going after docs in fellowship programs –
promising fellows a $100,000 advance for signing a contract to work for Pediatrix. “It is a scourge on
neonatology,” she said, but “the fellows are pretty desperate,” and likely to take the deal. Pediatrix is
also going into cities where malpractice insurance has increased dramatically, she said, and buying up
the practices of doctors who can’t afford the insurance.

The California neonatologist, who refused to work for Pediatrix and wound up competing with
former colleagues who were bought out, was troubled by the quality of physicians Pediatrix brought
in to replace her and her colleagues. The replacement neonatologists were “pretty substandard,” she
said, “Based on observing them and the nurses not being happy, I found I’d have to help out with
their patients; they (the docs) didn’t know the system.” The replacement docs would work for two
days, she said, “and then they‘d be gone.”

•   Impact on Patient Care

The impact on patient care is difficult to quantify but court records provide anecdotal evidence of
substandard care in medical malpractice lawsuits against Pediatrix in multiple states and Puerto Rico.
A few examples:

Newhouse v Pediatrix Medical Group, Davangere Jayaram, M.D. et al

In a West Virginia case filed in 2009, Carmela Newhouse went into the hospital for an emergency
cesarean section and gave birth to a baby boy, Camren, who was in initial respiratory distress but was
successfully resuscitated and said to be fine. Mom and baby were transferred to the Charleston Area
Medical Center Women and Children's Hospital where Pediatrix runs the NICU. According to the
complaint, the next day, Camren coded in the NICU and Dr. Davangere Jayaram, the Pediatrix
neonatologist on call, attempted resuscitation for 10 or 15, minutes before pronouncing the baby
dead. The father, Joseph Newhouse, was brought into the NICU and given the baby to hold for the
last time. While he was saying goodbye, he noticed that Camren was breathing. He immediately called


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for help and staff sprang into action but a full 28 minutes had passed since Dr. Jayaram had stopped
resuscitation and pronounced the child dead.

Camren had irreversible brain damage and is severely disabled today. The case is still in progress and
as of late 2010, Mednax had made no offer of settlement.

Dawson v Pediatrix Medical Group, Audrey Denise Cobb, M.D. et al

In this case, Dr. Audrey Cobb, a Pediatrix neonatologist in Virginia, was on call for the birth of
Rebecca Dawson. Prior to birth, the membranes of mother, Kathryn Dawson, were artificially
ruptured and meconium staining, indicative of fetal distress, was observed. Dr. Cobb was called to be
present for the birth and failed to "order a stat chest x-ray of Rebecca, a recently intubated infant
with immediately apparent ventilatory failure, at risk for meconium aspiration syndrome and
pneumothorax." Additionally Dr. Cobb improperly placed the breathing tube and failed to take
remedial measures. Rebecca suffered oxygen deprivation and "permanent, irreversible brain damage"
that left her disabled resulting in her death two years later.

In deposition, it was revealed that Dr. Cobb had failed her pediatric boards four times before finally
passing. Subsequently, she failed her neonatology boards three times before receiving help from
Pediatrix. Pediatrix hired Dr. Cobb after passing the neonatology board on the fourth try. Less than a
year of being hired by Pedatrix, Dr. Cobb was sued for the wrongful death of a Rebecca Dawson.
According to the plaintiffs' attorney, the jury never got to hear key evidence regarding the poor care
and the plaintiffs lost. Seven years later, still a Pediatrix employee Dr. Cobb was sued in another
wrongful death case. The company settled the case over Dr. Cobb's "objections." To the best of our
knowledge, Dr. Cobb is still a Pediatrix employee.

(Note: The attorney for these plaintiffs represents plaintiffs in another case in Virginia, not yet filed,
against Mednax, this time involving the anesthesiology division. In this case, a man went to get a
pacemaker replaced, a routine procedure, and wound up dead due to an error by the nurse
anesthetist, a Mednax employee and example of their practice of using "physician-extenders.")

Frederick Martin Jr. et al v. Banner Good Samaritan; Phoenix Perinatal Associates et al

In this case filed in 2008 in Superior Court in Maricopa County, Arizona, an Obstetrix (Mednax’s
obstetrical practice) physician failed to diagnose a pulmonary embolism in a patient complaining of
shortness of breath and dizziness. The physician then admitted the full term patient to the hospital
and performed a C-section after treating her with anticoagulants without her consent including
Heparin and TPA, contraindicated for surgery patients. The baby lived but the mom bled out and died.
The estate of the child along with the father is suing for malpractice.

In an interview with one of the expert witnesses in the case, Dr. Robert Eden, an obstetrician-
gynecologist and maternal-fetal expert at Harbor/UCLA Medical Center, who is familiar with
Obstetrix and Pediatrix in California, said he believes the company "treats the baby as the patient
rather than the mother because the baby is more valuable."

It is difficult to quantify whether or not individual cases represent more adverse outcomes than
would be expected based on the volume of births Pediatrix manages. However, a private competitor
to Pediatrix, also in the neonatology and anesthesiology space, remarked that his company very
rarely, if ever, sees a medical malpractice claim.

Improper Billing Practices



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In 2006, Pediatrix settled a false claims case with the Department of Justice over improper billing for
services provided to the government under the Medicaid program, the Federal Employees Health
Benefit program and the US Department of Defense’s TRICARE program for military dependents
and retirees. Pediatrix is still under a Corporate Integrity Agreement (CIA) arising from the
settlement until August 2011.

The whistleblower in that case5 and other former employees of Pediatrix maintain that in spite of the
settlement and the CIA, false billing continues to this day.

Interestingly, in an interview, a former regional vice president who worked at Pediatrix in 2005 –
2006 - roughly the time period during which the false claims settlement and CIA was likely being
negotiated - described a meeting he attended with a Pediatrix Senior Vice President for the Western
Region and two other executives to discuss how an overpayment of $1.5m by one of the commercial
payers was to be handled. The former regional VP assumed the answer would be to give the money
back but instead the meeting focused on how to keep the overpayment without raising suspicion.

Alarmed, the former regional VP spoke to an attorney and said he subsequently wrote a letter to the
Pediatrix ethics and compliance committee, chaired by the company’s Chief Legal Officer, expressing
his concern about improperly keeping the overpayment, which, in his view, was in violation of all
ethical standards as well as out of compliance with SOX reporting requirements.

The letter created “a firestorm,” he said, but to the best of his knowledge, the overpayment was not
refunded. Instead, approximately two months later, the Senior VP told the former regional VP to
“clean out his desk.”

In looking back at his time with Pediatrix, the former regional VP described the Pediatrix business
model and billing practices as “all working in the direction of increased billing. Each physician is on a
bonus program and the medical director is incentivized based on the performance of the group.”

He also recalled that during his employment with Pediatrix that commercial insurers knew there was
fraudulent billing and at least one6 threatened to turn the company in to the Department of Justice
for false claims violations.

But, he said, “Pediatrix is smart. In the NICU, they have figured out every possible way they could to
stretch a length of stay to get more revenue. They do a lot of little things. A few extra days here, an
extra scan there, it all adds up.” He added, “But they may be too clever for their own good.”

•      Unbundling Services: Newborn Hearing Screens

Pediatrix is the largest provider of newborn hearing screens in the country. Pediatrix provides hearing
screens in both its NICUs and, by contract, in some well baby nurseries at the same hospitals. In
2010, the company screened over 520,000 babies for potential hearing loss.

Since the 1990s newborn hearing screens have been mandatory and many states require screening to
be offered or performed before the baby leaves the hospital. If a newborn hearing screen has not
been performed in the hospital, pediatricians will routinely perform the screen as part of the baby’s
first office visit.

5Dr. Daniel Hall, neonatologist, Children’s Hospital and University of Colorado School of Medicine, Denver,
CO, 720-777-1234

6   Believed to be United Healthcare


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According to a former NNP in Texas, before Pediatrix took over, the hearing screen was part of the
bundled price of a delivery not an extra bill. But when Pediatrix took over in 2000, they took a
covered, bundled service and started billing for it separately at a $250 per hearing screen, the NNP
said. Today, Pediatrix charges as much as $300 - $400 per screen - and more - depending on the
region.

This newborn hearing screen was billed out for every single newborn delivered in both hospitals, the
former NNP said, “And if you didn’t have insurance, you got still got billed.”

“There were two Pediatrix groups but they covered all of the hospitals, about 15,000 deliveries per
year. During one meeting I was at, one physician questioned the practice of billing for the hearing
test. He said: ‘Look, many of the newborns we cover, these people having babies are working poor,
what if Medicaid denies that expense?’ The statewide (Texas) medical director for Pediatrix said: ‘We
send them one letter and threaten to send it over to a collection agency, usually it never goes to a
collection agency; we usually collect for half of those cases.’ ”

The NNP said the implication was that a lot of immigrants fear that letter from a collection agency,
and will sacrifice other necessities to pay the bill, rather than interact with the authorities. The NNP
was appalled by that kind of “persecution of people" in pursuit of profit.

Newborn hearing screens are performed by minimally skilled employees, without a medical or
audiology background, who get “on the job training” to operate the machine, according to one
former Pediatrix hearing screen coordinator in Chicago. The cost of a screen was about $400 per
exam, she recalled. "If the mother had state aid, there was a $96 reimbursement; if the mother had
private insurance, it was a $400 reimbursement," she said. Screeners were paid approximately $10 -
$15 per hour to perform the test, which ordinarily took 15 – 30 minutes to complete.

It should be noted that a $96 Medicaid reimbursement rate, is more than triple the $30
reimbursement rate that states like California and New York have set as reasonable.

The former coordinator said the job was incredibly stressful and hectic, with intense pressure to
screen every single baby while also managing six employees and paperwork. "It was hectic, I was
dealing with too many people to respond to. I ran the site on my own. It was really two jobs in one --
dealing with the state on reimbursements, and keeping up accounting of employees and managerial
paperwork for every baby in two hospitals. At both hospitals combined there were about 75 babies a
day,” she said.

There was pressure to screen every baby, she said, “If you missed a baby, that's money gone."

For instance, if a neonatologist wanted to release a baby after business hours at 8pm or 10pm, it was
unacceptable to let the baby leave the hospital without being screened even though the pediatrician
could do it at no extra charge within a day or two. "I would have to come in or get someone to
come in, we had to get the baby screened," the former coordinator said.

•   Coding Newborn Hearing Screens

According to its website and confirmed by former employees, Pediatrix uses auditory brainstem
response or ABR technology for newborn hearing screens. (The alternative technology is otoacoustic
emissions or OAE.)




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ABR is a common technology and was often the same technology used by hospitals when nurses
performed newborn hearing screens as part of a birth suite of services long before Pediatrix took
over. Some former Pediatrix employees report using the very same ABR machines previously used
by hospital staff until Pediatrix replaced them with newer “proprietary” models with a few bells and
whistles. Even so, the only change was how the hearing screen was billed; the actual technology was
the same.

ABR utilizes two ICD-9 CPT codes: 92585 (comprehensive) and 92586 (limited.) The
“comprehensive” code 92585 requires that a qualified professional provide “interpretation” of
results.

Pediatrix hearing screens are performed by minimally trained individuals, who are not qualified to
interpret the results. According to former employees, the results of the hearing screen – either “pass”
or “refer” (fail) - are sent to the patient’s file without interpretation. Screeners in the field are not
privy to final billing codes but many believe Pediatrix bills out at the higher “comprehensive” code
based on the justification that a neonatologist reviews the patient’s file.

In the amended complaint in the false claims lawsuit that settled in 2006, the whistleblower
specifically alleged that Pediatrix was billing for the higher 92585 code even though there was no
interpretation in the service it provided, therefore necessitating the “limited” code 92586.

In an interview, that former whistleblower, Dr. Daniel Hall, confirmed that the hearing screen issue
was one of the fraudulent practices he had seen and noted that it was not specifically addressed by
the Department of Justice in its settlement.

"The screen is fully automated, " he said, "The machine tells the screener if it is a pass or a refer.” He
said Pediatrix was charging for an interpretation by using the more complex code but “there is no
such thing, it’s fully automated." To the best of his knowledge, he said, that is still going on.

In addition, former screeners say that Pediatrix has had an unusual policy of only paying screeners if
the baby passes the test. Screeners can do up to 3 tests to get a passing result. According to Dr. Hall the
rationale was to avoid attention, "It's just cleaner that way. If they dealt with the ones that were
referred, that raises a flag. If you want to fly under the radar screen, just deal with the passes, stay
away from cases that might trip a review, a pass is said and done, over and done with." The payment
system encourages as many passes as possible, he said.

•   Newborn Hearing Screen Outrage

In March 2010, KFOR, an Oklahoma television station aired an investigative report entitled
“Newborn Hearing Screening Controversy,” which featured outraged parents who felt scammed into
payment an exorbitant bill for newborn hearing screens from Pediatrix.

         “The screening is a mandated test for every baby born in Oklahoma. Moore mom, Amy
         Hodges, got the bill for $226 for the test for her daughter, Emily. Hodges says, "I get the bill
         in the mail, and I'm kind of like, 'Wow! This is really expensive.' It's one of my most
         expensive bills."

         The Oklahoma State Legislature mandated the test in 2000 and the State Health Department
         provides the testing equipment to each birthing hospital in Oklahoma.

         According to the State Health Department, many insurance companies will pay for the test,
         but they may not cover the cost of the person who administers the 5-minute test.”


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When contacted by KFOR, the company offered an explanation the reporter said did not add up:

           Pediatrix tells us their charges are covered by most insurance companies. They say, often
           parents will get a bill because the newborn baby simply hasn't met their deductible. Pediatrix
           tells us they have a very low denial rate, less than one percent and that they have very few
           complaints on record.

           However, at least two parents NewsChannel 4 spoke with tell us that explanation doesn't
           add up. Both parents said they called to complain to Pediatrix. Both babies had already met
           their deductible obligation. They still got charged.”7

An interview with a former Mednax/Pediatrix customer service representative supported the parents’
claim. The former rep said parents from across the country are complaining about hearing screen
bills.

This former customer representative said Mednax’s Richmond, Virginia business office receives
nearly 2000 calls a day from parents complaining about the “separate bill” they received from
Pediatrix for a newborn hearing screen that their commercial insurer refused to pay.

“Every day, I would talk to 100 parents a day complaining about that bill. People were angry,
threatening to sue. I didn’t blame them. I worked in insurance for 23 years before going to Mednax
and had never heard of unbundling a newborn hearing screen to charge for it. It’s outrageous.”

She went on to explain that in one northern state (believed to be New Jersey) Mednax “does not
participate” with any of the insurance carriers so virtually all parents of newborns in the state were
getting unexpected bills for hundreds or thousands of dollars. “Here were people who were just
home with their sick babies and Mednax is giving them 30 to 60 days to pay their bill or else they go
into collection,” she said. There were also other charges that were not covered and were billed out
separately by Mednax so “most bills were $2000 or more with the hearing screen only a part of it.”

Interestingly, Pediatrix has recently rolled out a new hearing program for babies who fail the initial
screening known as “SoundGene” - http://www.pediatrix.com/body.cfm?id=2966 - which claims to
establish the cause of hearing loss by analyzing a drop of dried blood. More than half of the causes of
hearing loss are genetic, but it is questionable how beneficial knowing that information may be in
terms of treatments or outcomes.

Mednax has funded and conducted its own research to justify use of this test but it is unclear how
much traction SoundGene is getting.

•     Unbundled and Unnecessary: Resuscitation and spinal tap fees

Former employees also report that Pediatrix routinely bills for resuscitation fees when no
resuscitation was required or performed and for spinal taps, which should be covered as part of a
bundled service.

The former whistleblower, Dr. Hall, explained, "I work in hospitals where Pediatrix physicians work
as well. This business with charging for (unnecessary) services -- they would send a nurse to attend a
delivery and charge a resuscitation fee, when there was no resuscitation involved. My sense is that's
been going on for well over 15 years. Roger Medell, who founded this company, wasn't much of a

7   http://www.kfor.com/news/local/kfor-news-newborn-hearing-screening- story,0,7745322.story?track=rss


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doctor but he could foresee the loopholes and he knew that the programs like the newborn screens
were underfunded and understaffed. He made a business out of it.”

The former customer service representative in the Richmond, Virginia office said she was getting
calls every day from angry parents who had received a bill from Pediatrix for resuscitation - a
potential cost that is traditionally covered in a “suite” of labor and delivery services - where
resuscitation had neither been necessary nor performed.

A California neonatologist formerly with Pediatrix said he was troubled that their doctors were not
educated about the differences between bundled payments and unbundled. He said that Pediatrix
insists that doctors check off every possible billable item - individually – on company billing forms
even when that individual procedure is typically covered as part of a bundled service.

In other words, if he did a spinal tap, he was expected to bill for it, even though under Medicaid,
spinal taps are bundled and can't be billed separately.

"They (Pediatrix) made it sound like everything was billable” and that is wrong, he said. “It generates
a false sense of security in the doc that they can bill for all of this when they can’t. It creates
aggressive billing."

"Choosing the right level of care is the right thing to do. The intent of Pediatrix is that the more
procedures you do, the more you bill. Subconsciously, I think it generates more procedures."

 •   Unnecessary Billing for Attending Low-Risk Births

One practice that troubled NNPs was Pediatrix’ rule regarding staffing low-risk births, i.e. repeat
scheduled c-sections. Pediatrix’ practice was to "send us to everything and anything, according to one
NNP, even if it's low risk like scheduled, repeat c-sections for term babies – in other words, a birth
with no risk factor.”

Ordinarily, she said, “You find out what’s normal, based on mother’s medical, ob history, whether
the baby is at some risk. If there is a risk, there should be a neonatal nurse practitioner, or
neonatologist – a sick or preterm baby might need that.”

But that is not what Pediatrix does, she said. “When a neonatal nurse practitioner is at a delivery, you
can bill for that at a higher rate that an RN. If there's a risk factor, yes, I should be there, but when
there are zero risk factors? There's no reason for me to be there. “

The former nurse practitioner said she did complain to her medical director about this practice
saying, "We have enough legitimate work, why bill for this bogus c-section?" The nurse said that the
Medical Director "agreed with me but she said, this is a directive from above."

•    Overbilling for Oxygen

Dr. Hall, the former whistleblower, also noted that even after his case was settled in 2006 the
company was still “getting away” with improper practices. Consequently, he has continued to gather
evidence of fraud including documentation of Pediatrix overbilling for oxygen.

According to Dr. Hall, babies frequently needed to be sent home on oxygen but that Pediatrix sends
them home with a “lifetime supply” when they will only need it for a few weeks or months. “When I
say a lifetime supply, I mean a 99 year supply,” he said, “it is ridiculous.”



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•   Unnecessary use of incubators to inflate care level

Former NNPs also say in order to justify billing for higher levels care (critical) and add days to the
length of stay, Pediatrix physicians will keep babies in incubators unnecessarily.

One former NNP said that once babies reach 1500 – 1700 grams they should be out of the incubator
(also known as isolettes) but instead Pediatrix physicians will keep babies in until just before they go
home to maintain the appearance of a more serious condition.

“These babies have no business sweating to death in those boxes,” the former NNP said.

•   Use of “Physician Extenders”

Former employees also report the use of “physician extenders” or using NNPs to stand in for
physicians but billing out at the physician rate not the nurse-practitioner rate. NNPs are specially
trained to care for critically ill infants and are licensed and able to prescribe medication, order tests
and manage patient care. NNPs are frequently the only NICU clinicians “present” at deliveries,
particularly overnight and on weekends.

Instead of billing out at the NNP rate as required, former employees say, Pediatrix will bill out at the
physician rate, as if a neonatologist had been present.

According to a former NNP from Ohio, after attending a birth, she would sign on the delivery sheet
to attest to her presence at the delivery. But, she said, later in the day, the neonatologist would come
in and change the record to indicate a physician was present. Pediatrix would then bill that service
out at the physician rate.

•   Unnecessary tests on premature babies: ROP “RetCam” and POX “Pulse Oximeter”
    Screening

According to a former NNP, Pediatrix will perform a number of routine tests on premature babies -
whether indicated or not - including ophthalmology tests using a so-called “RetCam,” a digital
screening for Retinopathy of Prematurity (ROP.) “We were seeing 15 – 20 babies every week”
getting tests using the RetCam, she said. It was her belief that that the majority of these tests were
unwarranted.

Similarly, she said that so-called POX test or pulse oximeter test to determine oxygen saturation was
also done routinely by Pediatrix. The pulse oximeter is a piece of medical equipment that measures
the amount of oxygen in the baby’s blood.

The procedure is described as a small cuff with a light element and sensor that is wrapped around the
baby’s foot, hand, toe or finger over the pulse (heartbeat.) Light passes through the tissues from one
side of the cuff to the other. The light waves are altered by the amount of oxygen in the blood and
the machine calculates the percentage of oxygen in the blood.

The justification was to test separately for “apnea” or oxygen saturation but at many hospitals a pulse
oximeter is built into a cardio-respiratory monitor, which also displays heart rate, respirations and
blood pressure so the practice of billing separately for the test is highly questionable.

In addition, there is some question about the usefulness of this test since an oximeter is not a precise
measure and it is subject to false positives. If there were any questions about oxygen in the blood, a
blood sample from the baby would have to be taken and evaluated in a lab.


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•     Unnecessary admissions of healthy newborns for jaundice?

In a recent news story,8 a couple who delivered a full term healthy baby at Summerlin Hospital in Las
Vegas, NV was forced to admit their newborn daughter, Lily, to the NICU for jaundice even though
her bilirubin level was below the recognized threshold for treatment.

The father, Lincoln Rogers, said that he and his wife knew that Lily had a bilirubin level of 9.1 at 24
hours and 10.1 at 36 hours after birth – but after consulting with their pediatrician and midwife had
been assured that both readings were well below the level that would require special care like
phototherapy in the NICU. In fact, they had been told it was safe to bring the baby home and had
already scheduled a follow-up appointment with the pediatrician.

Instead, Rogers said, the NICU nurse took the baby against the couple’s will and reported them to
social services and the local police. Lily stayed in the NICU another 24 hours before they were
allowed to bring her home. Three days later, Rogers said he got a bill from Pediatrix Medical Group.
He is considering legal action.

Proprietary coding system: “BabySteps”

Pediatrix uses a proprietary electronic health records and billing system known as “Baby Steps,”
which is used by physicians to take the “guesswork” out of coding.

          BabySteps is an electronic health record system used by our affiliated neonatal physicians to
          record clinical progress notes electronically and provides a decision tree to assist
          them in certain situations with the selection of appropriate billing codes.
          (Mednax Inc. 10-K for period ending 12-31-2010)

In other words, physicians record patient notes and procedures in BabySteps and are given prompts
to “assist” them through the “decision tree” leading to “appropriate” coding. According to former
Pediatrix neonatologists, BabySteps looks for “consistency” and sends follow-up emails or exception
reports to alert physicians when coding needs to be changed.

A former NNP noted, “The old system, RDS, sort of did the same in that you input information and
they reviewed the information and if the documentation didn't agree, they expected you to change it
so that it would agree. This is when the e-mails would happen.”

The old system sent email alerts, she said, if coding was deemed “inconsistent” after it had been
reviewed at corporate office. But Baby Steps has algorithms built-in to “prompt” employees
inputting patient information to code in a manner that is consistent with corporate-generated criteria.
In Baby Steps, the consistency is built in. “It automatically prevents you from moving out of a
screen,” the NNP said, if the code is not meeting the criteria.

She explained that corporate office does the “final billing” but that, in her experience, there were two
Pediatrix secretaries work at the hospital. “They do the preliminary billing but it gets sent down to
corporate and if it isn’t the way they want it, they will send it back.”

(It should be noted that Baby Steps seems to bear some likeness to another “proprietary” computer
system, AMS, that has been implicated in fraud allegations against a publicly-traded home health
company, Amedisys Inc. Published reports have called AMS “the secret sauce” in Amedisys’ ability

8   ABC News, Las Vegas, NV 3-28-11 http://www.ktnv.com/story/14338042/baby


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to consistently achieve higher than expected revenue. The company is reportedly under investigation
by the SEC, the Senate Finance Committee and the Department of Justice.)

Accounting Red Flags

•   Under-Accrued Physician Expenses

An analysis of recent financial reporting by Mednax with regard to acquired physician salary/bonus
accruals reveals that the company is effectively manipulating accruals in order to reduce expenses,
manage earnings and beat expectations.

In 1Q 2010, this amounted to about $13.1-million worth of under accruals relative to its historical
salary/bonus cost per doctor. After factoring in a tax-rate of mid 30%, it amounts to 17 cents per
share. Given that they earned 81 cents per share in the quarter ended 3/31, nearly 21% of that came
from this gambit, implying that their real earnings capacity is about 65 cents per share. Had the
company accrued salary/bonus at a normal rate, they would have missed horribly.

In an interview, a former Mednax senior tax analyst, when presented with this analysis, confirmed
that the analysis was “on the right track” and advised it would be “good” to continue to dig into this
area.

In fact, in the most recent quarter, 2Q 2010, the gap became even more significant. Under-accruing
for physician salary/bonus expenses provided the company with about 29 cents per share of
“earnings”--more accurately expense avoidance--that based on the $1.06 the reported in EPS, gave
them a 27% boost to the bottom line. This helped them beat estimates and keep the stock in the
range it is in.

Using last years six-month figure of $82.79-million of accruals off of a 1274 physician count (the
numbers are from the 10-Q and 10-K, respectively) we get $64,985 per doctor. We then multiply that
by the 1484 doctors currently on the payroll (as of the 10-K, which is the only time they provide that
figure) and we get $96.43-million.

Subtracting the $73.48-million leaves us with a $22.97-million differential. That figure, multiplied at a
35% tax rate (they’ve had rates anywhere from 35% to 38%;) gives them an after tax benefit of $14.9-
million or 29 cents per share.

•   Gap between net income and cash from operations

Mednax made $87.6-million in net income for the six-months and, when stock-based compensation
is added to that ($12-million; it’s an expense but a non-cash one) they really could be said to have
made $100-million. Yet their cash from operations was just over $50-million and, when compared to
the first six-months of 2009, declined over $11.7-million despite a 9% increase in revenues and 12%
increase in net income.

Things are not adding up: they have more physicians, a practical monopoly in certain areas and yet
they are not converting that to cash. One possibility is that physicians are not hitting their targets.




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